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December 15, 2017

VIA ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:       United States v. Nordlicht, et al., 16 Cr. 640 (BMC)

Dear Judge Cogan:

        We write on behalf of Defendant Mark Nordlicht to request limited modifications to the
terms of Mr. Nordlicht’s conditions of release. Specifically, Mr. Nordlicht respectfully requests
that the Court modify the conditions to permit him to travel to Vermont for a family holiday
between December 23 and December 28, 2017. We have conferred with the government and
with Pretrial Services, and neither objects.

Respectfully submitted,

/s/ William A. Burck
William A. Burck
Alexander B. Spiro

cc:     All counsel of record (by ECF)
        Pretrial Services (by email)




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